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CHAPMAN AND CUTLER LLP
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-and-

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Proposed Counsel for the Debtor and
Debtor in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------x
In re                                                     :   Chapter 11
                                                          :
Retrieval-Masters Creditors Bureau, Inc.,1                :   Case No. 19-23185 (RDD)
                                                          :
                           Debtor.                        :
----------------------------------------------------------x



           DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR


1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the
        attorney for the above-named Debtor and that compensation paid to me within one year
        before the filing of the petition in bankruptcy, or agreed to be paid to me, for services
        rendered or to be rendered on behalf of the Debtor in contemplation of or in connection
        with the bankruptcy case is as follows:

        For legal services, I have agreed to accept an hourly fee for legal services rendered and
        related expenses, as set forth on that certain Engagement Letter attached hereto as Exhibit
        A and as will be further detailed in the Debtor’s Application for Entry of an Order

1
        The last four digits of the Debtor’s taxpayer identification number is 9495. The location of the Debtor’s
        service address for purposes of this chapter 11 case is 4 Westchester Plaza, Suite 110, Elmsford, NY 10523.
        The Debtor also does business as American Medical Collection Agency.
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        Authorizing the Retention and Employment of Chapman And Cutler LLP as Attorneys
        for the Debtor Effective Nunc Pro Tunc to the Petition Date, which will be filed in due
        course.

        Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . $138,016.53

        Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $02

2.      The source of the compensation paid to me was: the Debtor.

3.      The source of compensation to be paid to me is: the Debtor.

4.      I have not agreed to share the above-disclosed compensation with any other person unless
        they are members and associates of my law firm.

5.      In return for the fees disclosed in the Engagement Letter, I have agreed to render legal
        service for all aspects of the bankruptcy case, including, but not limited to:

        a.        advising the Debtor with respect to its powers and duties as a debtor in
                  possession;

        b.        advising and consulting on the conduct of this chapter 11 case, including all of the
                  legal and administrative requirements of operating in chapter 11;

        c.        attending meetings and negotiating with representatives of creditors and other
                  parties in interest on behalf of the Debtor;

        d.        taking all necessary actions to protect and preserve the Debtor’s estate, including
                  prosecuting potential actions on the Debtor’s behalf, defending any action
                  commenced against the Debtor, and representing the Debtor in negotiations
                  concerning litigation in which the Debtor is involved, including objections to
                  claims filed against the Debtor’s estate;

        e.        preparing pleadings in connection with this chapter 11 case, including motions,
                  applications, answers, orders, reports, and papers necessary or otherwise
                  beneficial to the administration of the Debtor’s estate;

        f.        representing the Debtor in connection with obtaining authority to continue using
                  cash collateral and postpetition financing;

        g.        advising the Debtor in connection with any potential sale or other disposition of
                  assets;



2
    Not inclusive of accrued, unbilled, post-petition amounts, which shall remain contingent until, among other
things, the Court approves the firm’s retention pursuant to section 327(a) and 330 of the Bankruptcy Code.
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       h.      appearing before the Bankruptcy Court and any appellate courts to represent the
               interests of the Debtor’s estate;

       i.      taking any necessary action on behalf of the Debtor to negotiate, prepare, and
               obtain approval of a disclosure statement and confirmation of a chapter 11 plan
               and all documents related thereto, or other similar case disposition; and

       j.      performing all other necessary legal services for the Debtor in connection with the
               prosecution of this chapter 11 case, including: (i) analyzing the Debtor’s leases
               and contracts and the assumption and assignment or rejection thereof; and (ii)
               advising the Debtor on corporate and litigation matters.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following
       services: N/A.

I certify that the foregoing is a complete statement of any agreement or arrangement for payment
to me for representation of the debtor in this bankruptcy proceeding.

Dated: July 1, 2019
       New York, New York

                                      CHAPMAN AND CUTLER LLP
                                      Proposed Counsel for the Debtor and
                                      Debtor in Possession


                                      By:     /s/Steven Wilamowsky
                                            Steven Wilamowsky
                                            1270 Avenue of the Americas
                                            30th Floor
                                            New York, NY 10020-1708
                                            Telephone: 212.655.6000

                                            -and-

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